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Judge Virginia M. Kendall
United States District Court

Northern District of illinois
9249S Dearborn Streei
Chicago IL 60604

April 12, 2024
Dear Judge Kendall,

My deep apologies for the tardiness of this letter. My
name is Paul G. Vallas. | am the former Chicage Director
of the city’s Office of Budget and Management, and CEO
of the Chicago Public Schools.

My post-Chicago career took me to New Orleans, where \
was tasked with rebuilding the public school system after
Hurricane Katrina decimated more than 400 school
buildings, including the central office.

Due to my rebuilding experience in New Orleans, the _
Inter-American Development Bank in 2010 recruited me to
lead the international coalition tasked with rebuilding the
education system after Haiti was struck by the earthquake
that killed an estimated quarter of a million people. As a
result of that work, | served a decade as finance chair of a
prominent nonprofit NGO that supported 50,000 internally
displaced Haitians for six years. This NGO continues to
provide disaster relief work worldwide, including
delivering more than three million COVID-19 vaccinations
in eight major US cities, including Chicago.

In my capacity as a consultant during the Obama
administration, at the direction of interim U.S. Attorney
General Sally Yates, lied a project designed to modernize
and create both greater afficiencies and better outcomes
in the federal Bureau of Prisons’ education and
occupational training systems. This effort was the final
phase of President Obama’s signature criminal justice
reform initiatives. We created a vastly improved system
that seemed guaranteed to reduce recidivism.
Unfortunately, we were prevented from implementing the
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plan due the change In oresidential administration.

| have known Edward Burke and his wonderful wife, the
distinguished Illinois Supreme Court Justice, Anne Burke
since 1992. We became professional colleagues during
my tenure as Mayor Richard M. Daley’s city Revenue
Director, Budget Director, and later, Chicago Public
Schools CEO.

My public service assignments in Chicago always
involved taking responsibility for institutions that were in
crisis and had seen their share of controversies and
scandals. My reforms and my willingness to attack
“sacred cows” at city hall, and to terminate both
ineffective employees and bloated contracts of the
politically connected led some members of the “political
machine” to shun me, and certainly all of them to tread
lightly around me.

Not so Alderman Ed Burke. As Chairman of the City
Council Finance Committee, Ed was always supportive of
my reforms and encouraged me to do the right thing for
the average Chicago citizen, no matter how powerful were
the feathers | ruffled. | honestly cannot recall a single time
that he ever questioned my judgment, asked me to back
down from a politically risky decision, or asked me for any
consideration or favor. In short, Ed was a true professional
whom | always felt met my standards for ethics. He never
once made me feel uncomfortable. Especially in my
younger years, when | was new to city hall, Ed’s support
and advice was Very comforting as | learned to navigate
Chicago’s treacherous political waters.

Ed and | remain good friends, and | have a true affection
for him. We have talked periodically over the years,
keeping in touch even during the periods my career took
me far from Chicago. Most of our conversations included
his thoughtful commentary on a project | had undertaken
or an article | had published. He often voiced concern for
Chicago’s budget woes and worried about the impact of
various city policies on the average Chicagoan. | know he
truly cared, not only for his own constituents, but for all of
_ Chicago and for the success of our great city. His
orofessional impact on Chicago is a great legacy.
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Finally, and on a more personal note, Ed and Anne were

also very comforting to my wife and | when we lost Our
youngest son in 2018 at the age of 25. Given that they
also had lost a son too early, their empathy was
boundless. Their care, and the time they took to
repeatedly express it, made a difference in our time of
immense grief.

| am, of course, well aware of the criminal conviction. |
have every confidence that Your Honor will make the
correct sentencing decision based on the evidence. But |
will tell you without hesitation, that given my years of first
hand observation of Ed’s body of civic and charitable
contributions - and those of his wonderful wife who is no
doubt devastated by the trial’s outcome - Ed is worthy of
whatever leniency you see fit to provide. Thank you for
your consideration.

Very Truly Yours,

Paul G. Vallas
